                            Case 08-20317 Document 1 Filed in TXSB on 06/06/08 Page 1 of 45
                                                                                                                                                                    06/06/2008 07:32:05pm
B1 (Official Form 1) (1/08)
                                           UNITED STATES BANKRUPTCY COURT
                                              SOUTHERN DISTRICT OF TEXAS                                                                                     Voluntary Petition
                                                CORPUS CHRISTI DIVISION
Name of Debtor (if individual, enter Last, First, Middle):                                           Name of Joint Debtor (Spouse) (Last, First, Middle):
Andrade, Rowland

All Other Names used by the Debtor in the last 8 years                                               All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                          (include married, maiden, and trade names):
dba Bright Mart



Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN (if more           Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN (if more
than one, state all):     xxx-xx-0110                                                                than one, state all):
Street Address of Debtor (No. and Street, City, and State):                                          Street Address of Joint Debtor (No. and Street, City, and State):
4201 Violet, Lot 58
Corpus Christi, TX
                                                                        ZIP CODE                                                                                            ZIP CODE
                                                                          78410
County of Residence or of the Principal Place of Business:                                           County of Residence or of the Principal Place of Business:
NUECES
Mailing Address of Debtor (if different from street address):                                        Mailing Address of Joint Debtor (if different from street address):
4201 Violet, Lot 58
Corpus Christi, TX
                                                                        ZIP CODE                                                                                            ZIP CODE
                                                                          78410
Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                            ZIP CODE


                Type of Debtor                               Nature of Business                                    Chapter of Bankruptcy Code Under Which
              (Form of Organization)                            (Check one box.)                                      the Petition is Filed (Check one box.)
                 (Check one box.)
                                                   ¨    Health Care Business
                                                                                                     ¨ Chapter 7
 þ Individual (includes Joint Debtors)             ¨ Single Asset Real Estate as defined
                                                     in 11 U.S.C. § 101(51B)
                                                                                                     ¨ Chapter 9                                     ¨ Chapter  15 Petition for Recognition
                                                                                                                                                       of a Foreign Main Proceeding
   See Exhibit D on page 2 of this form.
                                                   ¨ Railroad                                        ¨ Chapter 11
 ¨ Corporation (includes LLC and LLP)              ¨ Stockbroker                                     ¨ Chapter 12                                    ¨ Chapter 15 Petition for Recognition
                                                                                                                                                           of a Foreign Nonmain Proceeding
 ¨ Partnership                                     ¨ Commodity Broker                                þ Chapter 13
 ¨ Other  (If debtor is not one of the above
   entities, check this box and state type
                                                   ¨ Clearing Bank                                                                         Nature of Debts
                                                                                                                                           (Check one box.)
        of entity below.)                          ¨ Other
                                                               Tax-Exempt Entity                     þ Debts  are primarily consumer
                                                                                                       debts, defined in 11 U.S.C.
                                                                                                                                                     ¨ Debts are primarily
                                                                                                                                                       business debts.
                                                             (Check box, if applicable.)                     § 101(8) as "incurred by an
                                                   ¨ Debtor is a tax-exempt organization
                                                     under Title 26 of the United States
                                                                                                             individual primarily for a
                                                                                                             personal, family, or house-
                                                        Code (the Internal Revenue Code).                    hold purpose."
                                Filing Fee (Check one box.)                                                                            Chapter 11 Debtors
                                                                                                     Check one box:
 þ Full Filing Fee attached.                                                                         ¨ Debtor is a small business debtor as defined by 11 U.S.C. § 101(51D).
                                                                                                     ¨ Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
 ¨ Filing Fee to be paid in installments (applicable to individuals only). Must attach
   signed application for the court's consideration certifying that the debtor is                    Check if:
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                ¨ Debtor's  aggregate noncontigent liquidated debts (excluding debts owed to
                                                                                                       insiders or affiliates) are less than $2,190,000.

 ¨ Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
   attach signed application for the court's consideration. See Official Form 3B.
                                                                                                     Check all applicable boxes:
                                                                                                     ¨ AAcceptances
                                                                                                          plan is being filed with this petition.

                                                                                                     ¨ of creditors, inofaccordance
                                                                                                                          the plan were solicited prepetition from one or more classes
                                                                                                                                      with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                    THIS SPACE IS FOR
                                                                                                                                                                           COURT USE ONLY
 þ    Debtor estimates that funds will be available for distribution to unsecured creditors.
 ¨    Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
      there will be no funds available for distribution to unsecured creditors.
 Estimated Number of Creditors
 þ
 1-49
             ¨
             50-99
                            ¨
                            100-199
                                       ¨
                                       200-999
                                                       ¨
                                                       1,000-
                                                                        ¨
                                                                        5,001-
                                                                                           ¨
                                                                                           10,001-
                                                                                                               ¨
                                                                                                               25,001-
                                                                                                                                 ¨
                                                                                                                                 50,001-
                                                                                                                                                 ¨
                                                                                                                                                 Over
                                                       5,000            10,000             25,000              50,000            100,000         100,000
 Estimated Assets
 þ           ¨              ¨          ¨               ¨                ¨                  ¨                   ¨                 ¨               ¨
 $0 to    $50,001 to $100,001 to $500,001              $1,000,001       $10,000,001        $50,000,001         $100,000,001      $500,000,001 More than
 $50,000 $100,000 $500,000       to $1 million         to $10 million   to $50 million     to $100 million     to $500 million   to $1 billion $1 billion
 Estimated Liabilities
 ¨           þ              ¨          ¨               ¨                ¨                  ¨                   ¨                 ¨               ¨
 $0 to   $50,001 to $100,001 to $500,001               $1,000,001       $10,000,001        $50,000,001         $100,000,001      $500,000,001 More than
 $50,000 $100,000 $500,000      to $1 million          to $10 million   to $50 million     to $100 million     to $500 million   to $1 billion $1 billion
Computer software provided by LegalPRO Systems, Inc., San Antonio, Texas (210) 561-5300, Copyright 1996-2008 (Build 9.0.14.5, ID 0069331937)
                        Case 08-20317 Document 1 Filed in TXSB on 06/06/08 Page 2 of 45
                                                                                                                                                             06/06/2008 07:32:05pm
B1 (Official Form 1) (1/08)                                                                                                                                                 Page 2
 Voluntary Petition                                                                         Name of Debtor(s):    Rowland Andrade
 (This page must be completed and filed in every case.)
                          All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
Location Where Filed:                                                                      Case Number:                                   Date Filed:
 None
Location Where Filed:                                                                      Case Number:                                   Date Filed:


        Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                     (If more than one, attach additional sheet.)
Name of Debtor:                                                                            Case Number:                                   Date Filed:
 None
District:                                                                                  Relationship:                                  Judge:


                                       Exhibit A                                                                                   Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                              (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                  whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)         I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                            informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                            of title 11, United States Code, and have explained the relief available under each
                                                                                            such chapter. I further certify that I have delivered to the debtor the notice
 ¨ Exhibit A is attached and made a part of this petition.                                  required by 11 U.S.C. § 342(b).



                                                                                            X /s/ Viviana S. Cavada                                                 06/06/2008
                                                                                                 Viviana S. Cavada                                                     Date
                                                                                     Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

 ¨ Yes, and Exhibit C is attached and made a part of this petition.
 þ No.
                                                                                     Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
      þ Exhibit D completed and signed by the debtor is attached and made a part of this petition.
 If this is a joint petition:
        ¨ Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.
                                                                 Information Regarding the Debtor - Venue
                                                                        (Check any applicable box.)

 þ Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
        preceding the date of this petition or for a longer part of such 180 days than in any other District.


 ¨ There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
 ¨ Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
        principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this District,
        or the interests of the parties will be served in regard to the relief sought in this District.

                                      Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                               (Check all applicable boxes.)
 ¨      Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                                                                        (Name of landlord that obtained judgment)




                                                                                        (Address of landlord)

 ¨ Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the entire
        monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

 ¨ Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the filing of the
        petition.

 ¨ Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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                          Case 08-20317 Document 1 Filed in TXSB on 06/06/08 Page 3 of 45
                                                                                                                                                               06/06/2008 07:32:05pm
B1 (Official Form 1) (1/08)                                                                                                                                                   Page 3
 Voluntary Petition                                                                          Name of Debtor(s):     Rowland Andrade
 (This page must be completed and filed in every case)
                                                                                        Signatures
             Signature(s) of Debtor(s) (Individual/Joint)                                                          Signature of a Foreign Representative
 I declare under penalty of perjury that the information provided in this petition is        I declare under penalty of perjury that the information provided in this petition is true
 true and correct.                                                                           and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7,
 11, 12 or 13 of title 11, United States Code, understand the relief available under
                                                                                             (Check only one box.)
 each such chapter, and choose to proceed under chapter 7.
 [If no attorney represents me and no bankruptcy petition preparer signs the
 petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                             ¨ ICertified
                                                                                                 request relief in accordance with chapter 15 of title 11, United States Code.
                                                                                                          copies of the documents required by 11 U.S.C. § 1515 are attached.

 I request relief in accordance with the chapter of title 11, United States Code,
 specified in this petition.                                                                 ¨ Pursuant   to 11 U.S.C. § 1511, I request relief in accordance with the chapter of
                                                                                               title 11 specified in this petition. A certified copy of the order granting
                                                                                                 recognition of the foreign main proceeding is attached.


 X /s/ Rowland Andrade
      Rowland Andrade
                                                                                             X
                                                                                                 (Signature of Foreign Representative)
 X
                                                                                                 (Printed Name of Foreign Representative)
     Telephone Number (If not represented by attorney)
     06/06/2008
     Date                                                                                        Date
                                Signature of Attorney*                                                  Signature of Non-Attorney Bankruptcy Petition Preparer
                                                                                             I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
 X /s/ Viviana S. Cavada                                                                     defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and
      Viviana S. Cavada                                Bar No. SDT 3450                      have provided the debtor with a copy of this document and the notices and
                                                                                             information required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules
                                                                                             or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a
 Law Offices of Viviana S. Cavada
                                                                                             maximum fee for services chargeable by bankruptcy petition preparers, I have
 4646 Corona Suite 165                                                                       given the debtor notice of the maximum amount before preparing any document
 Corpus Christi, TX. 78411                                                                   for filing for a debtor or accepting any fee from the debtor, as required in that
                                                                                             section. Official Form 19 is attached.


          (361) 814-6500
 Phone No.______________________        (361) 814-8618
                                 Fax No.______________________
                                                                                             Printed Name and title, if any, of Bankruptcy Petition Preparer
     06/06/2008
     Date
 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a               Social-Security number (If the bankruptcy petition preparer is not an individual,
 certification that the attorney has no knowledge after an inquiry that the                  state the Social-Security number of the officer, principal, responsible person or
 information in the schedules is incorrect.                                                  partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)


                Signature of Debtor (Corporation/Partnership)
 I declare under penalty of perjury that the information provided in this petition is
 true and correct, and that I have been authorized to file this petition on behalf of
 the debtor.
                                                                                             Address
 The debtor requests relief in accordance with the chapter of title 11, United States
 Code, specified in this petition.
                                                                                             X
                                                                                                 Date
 X                                                                                           Signature of bankruptcy petiton preparer or officer, principal, responsible person, or
                                                                                             partner whose Social-Security number is provided above.
     Signature of Authorized Individual
                                                                                             Names and Social-Security numbers of all other individuals who prepared or
                                                                                             assisted in preparing this document unless the bankruptcy petition preparer is not
     Printed Name of Authorized Individual                                                   an individual.



     Title of Authorized Individual                                                          If more than one person prepared this document, attach additional sheets
                                                                                             conforming to the appropriate official form for each person.

                                                                                             A bankruptcy petition preparer's failure to comply with the provisions of title 11
     Date                                                                                    and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                             imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
                  Case 08-20317 Document 1 Filed in TXSB on 06/06/08 Page 4 of 45
                                                                                                                           06/06/2008 07:32:05pm
Official Form 1, Exhibit D (10/06)        UNITED STATES BANKRUPTCY COURT
                                             SOUTHERN DISTRICT OF TEXAS
                                               CORPUS CHRISTI DIVISION
IN RE:   Rowland Andrade                                                                 Case No.
                                                                                                              (if known)

                     Debtor(s)

               EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                CREDIT COUNSELING REQUIREMENT


Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you
cannot do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens,
you will lose whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your
case is dismissed and you file another bankruptcy case later, you may be required to pay a second filing fee and you may
have to take extra steps to stop creditors' collection activities.


Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D.
Check one of the five statements below and attach any documents as directed.


þ 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling
and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the services
provided to me.     Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.

¨ 2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit couseling
and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing the services
provided to me. You must file a copy of a certificate from the agency describing the services provided to you and a copy of any
debt repayment plan developed through the agency no later than 15 days after your bankruptcy case is filed.


¨ 3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during
the five days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit
counseling requirement so I can file my bankruptcy case now.       [Must be accompanied by a motion for determination by the
court.] [Summarize exigent circumstances here.]




If the court is satisfied with the reasons stated in your motion, it will send you an order approving your request. You must
still obtain the credit counseling briefing within the first 30 days after you file your bankruptcy case and promptly file a
certificate from the agency that provided the briefing, together with a copy of any debt management plan developed through
the agency. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. A
motion for extension must be filed within the 30-day period. Failure to fulfill these requirements may result in dismissal of
your case. If the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit
counseling briefing, your case may be dismissed.
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Official Form 1, Exhibit D (10/06)        UNITED STATES BANKRUPTCY COURT
                                             SOUTHERN DISTRICT OF TEXAS
                                               CORPUS CHRISTI DIVISION
IN RE:   Rowland Andrade                                                                  Case No.
                                                                                                                (if known)

                     Debtor(s)

               EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                CREDIT COUNSELING REQUIREMENT
                                                         Continuation Sheet No. 1



¨ 4. I am not required to receive a credit counseling briefing because of:         [Check the applicable statement.] [Must be
accompanied by a motion for determination by the court.]

         ¨ Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to
              be incapable of realizing and making rational decisions with respect to financial responsibilites.);


         ¨ Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable
              effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);


         ¨ Active military duty in a military combat zone.

¨ 5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of
11 U.S.C. § 109(h) does not apply in this district.


I certify under penalty of perjury that the information provided above is true and correct.



Signature of Debtor:    /s/ Rowland Andrade
                       Rowland Andrade

Date:       06/06/2008
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                                                                                                                        06/06/2008 07:32:05pm
B6A (Official Form 6A) (12/07)



In re Rowland Andrade                                                Case No.
                                                                                                           (if known)



                                     SCHEDULE A - REAL PROPERTY


                                                                                                        Current Value




                                                                              Husband, Wife, Joint,
                                                                                                         of Debtor's
                   Description and                  Nature of Debtor's




                                                                                or Community
                                                                                                          Interest in
                     Location of                   Interest in Property
                                                                                                      Property, Without      Amount Of
                      Property                                                                                              Secured Claim
                                                                                                       Deducting Any
                                                                                                       Secured Claim
                                                                                                        or Exemption


  None




                                                                          Total:                                 $0.00
                                                                          (Report also on Summary of Schedules)
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                                                                                                                    06/06/2008 07:32:05pm
B6B (Official Form 6B) (12/07)




In re Rowland Andrade                                                         Case No.
                                                                                           (if known)



                                         SCHEDULE B - PERSONAL PROPERTY




                                                                                                Husband, Wife, Joint,
                                                                                                                        Current Value of
                                                                                                                        Debtor's Interest




                                                                                                  or Community
                                                                                                                           in Property,

             Type of Property             None      Description and Location of Property
                                                                                                                        Without Deducting
                                                                                                                          any Secured
                                                                                                                             Claim or
                                                                                                                            Exemption

1. Cash on hand.                          X

2. Checking, savings or other finan-      X
cial accounts, certificates of deposit
or shares in banks, savings and loan,
thrift, building and loan, and home-
stead associations, or credit unions,
brokerage houses, or cooperatives.

3. Security deposits with public util-    X
ities, telephone companies, land-
lords, and others.

4. Household goods and furnishings,       X
including audio, video and computer
equipment.

5. Books; pictures and other art          X
objects; antiques; stamp, coin,
record, tape, compact disc, and other
collections or collectibles.

6. Wearing apparel.                       X

7. Furs and jewelry.                      X

8. Firearms and sports, photo-            X
graphic, and other hobby equipment.

9. Interests in insurance policies.       X
Name insurance company of each
policy and itemize surrender or
refund value of each.

10. Annuities. Itemize and name           X
each issuer.
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                                                                                                                      06/06/2008 07:32:05pm
B6B (Official Form 6B) (12/07) -- Cont.




In re Rowland Andrade                                                           Case No.
                                                                                             (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                  Continuation Sheet No. 1




                                                                                                  Husband, Wife, Joint,
                                                                                                                          Current Value of
                                                                                                                          Debtor's Interest




                                                                                                    or Community
                                                                                                                             in Property,

             Type of Property              None       Description and Location of Property
                                                                                                                          Without Deducting
                                                                                                                            any Secured
                                                                                                                               Claim or
                                                                                                                              Exemption


11. Interests in an education IRA as       X
defined in 26 U.S.C. § 530(b)(1) or
under a qualified State tuition plan
as defined in 26 U.S.C. § 529(b)(1).
Give particulars. (File separately
the record(s) of any such interest(s).
11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh,        X
or other pension or profit sharing
plans. Give particulars.

13. Stock and interests in incorpo-        X
rated and unincorporated businesses.
Itemize.

14. Interests in partnerships or joint     X
ventures. Itemize.

15. Government and corporate bonds         X
and other negotiable and non-
negotiable instruments.

16. Accounts receivable.                   X

17. Alimony, maintenance, support,         X
and property settlements to which the
debtor is or may be entitled. Give
particulars.

18. Other liquidated debts owed to         X
debtor including tax refunds. Give
particulars.
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B6B (Official Form 6B) (12/07) -- Cont.




In re Rowland Andrade                                                            Case No.
                                                                                              (if known)



                                           SCHEDULE B - PERSONAL PROPERTY
                                                   Continuation Sheet No. 2




                                                                                                   Husband, Wife, Joint,
                                                                                                                           Current Value of
                                                                                                                           Debtor's Interest




                                                                                                     or Community
                                                                                                                              in Property,

             Type of Property               None       Description and Location of Property
                                                                                                                           Without Deducting
                                                                                                                             any Secured
                                                                                                                                Claim or
                                                                                                                               Exemption


19. Equitable or future interests, life     X
estates, and rights or powers exercis-
able for the benefit of the debtor other
than those listed in Schedule A - Real
Property.

20. Contingent and noncontingent            X
interests in estate of a decedent, death
benefit plan, life insurance policy, or
trust.

21. Other contingent and unliqui-           X
dated claims of every nature,
including tax refunds, counterclaims
of the debtor, and rights to setoff
claims. Give estimated value of each.

22. Patents, copyrights, and other          X
intellectual property. Give
particulars.

23. Licenses, franchises, and other         X
general intangibles. Give particulars.

24. Customer lists or other compilations    X
containing personally identifiable
information (as defined in 11 U.S.C.
§ 101(41A)) provided to the debtor by
individuals in connection with obtaining
a product or service from the debtor
primarily for personal, family, or
household purposes.

25. Automobiles, trucks, trailers,          X
and other vehicles and accessories.

26. Boats, motors, and accessories.         X
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                                                                                                                                              06/06/2008 07:32:05pm
B6B (Official Form 6B) (12/07) -- Cont.




In re Rowland Andrade                                                                         Case No.
                                                                                                                     (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                             Continuation Sheet No. 3




                                                                                                                          Husband, Wife, Joint,
                                                                                                                                                  Current Value of
                                                                                                                                                  Debtor's Interest




                                                                                                                            or Community
                                                                                                                                                     in Property,

             Type of Property                 None               Description and Location of Property
                                                                                                                                                  Without Deducting
                                                                                                                                                    any Secured
                                                                                                                                                       Claim or
                                                                                                                                                      Exemption


27. Aircraft and accessories.                 X

28. Office equipment, furnishings,            X
and supplies.

29. Machinery, fixtures, equipment,           X
and supplies used in business.

30. Inventory.                                X

31. Animals.                                  X

32. Crops - growing or harvested.             X
Give particulars.

33. Farming equipment and                     X
implements.

34. Farm supplies, chemicals, and             X
feed.

35. Other personal property of any            X
kind not already listed. Itemize.




                                                                          3           continuation sheets attached   Total >                                $0.00
             (Include amounts from any continuation sheets attached. Report total also on Summary of Schedules.)
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B6C (Official Form 6C) (12/07)



In re Rowland Andrade                                                                      Case No.
                                                                                                              (If known)



                                     SCHEDULE C - PROPERTY CLAIMED AS EXEMPT


 Debtor claims the exemptions to which debtor is entitled under:           ¨ Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                               $136,875.

 ¨    11 U.S.C. § 522(b)(2)
 þ    11 U.S.C. § 522(b)(3)




                                                                                                                                Current
                                                                                                                           Value of Property
                                                              Specify Law Providing Each          Value of Claimed
              Description of Property                                                                                      Without Deducting
                                                                       Exemption                     Exemption
                                                                                                                               Exemption




                                                                                                               $0.00                     $0.00
                  Case 08-20317 Document 1 Filed in TXSB on 06/06/08 Page 12 of 45
                                                                                                                                                         06/06/2008 07:32:06pm
B6D (Official Form 6D) (12/07)
          In re Rowland Andrade                                                                                      Case No.
                                                                                                                                                  (if known)



                               SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                         ¨    Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                          HUSBAND, WIFE, JOINT,
         CREDITOR'S NAME AND                                                                   DATE CLAIM WAS                                AMOUNT OF         UNSECURED




                                                                                                                              UNLIQUIDATED
           MAILING ADDRESS                                                                   INCURRED, NATURE                                  CLAIM           PORTION, IF




                                                                                                                               CONTINGENT
                                                            OR COMMUNITY
                                               CODEBTOR




                                                                                                                                DISPUTED
       INCLUDING ZIP CODE AND                                                                   OF LIEN, AND                                  WITHOUT             ANY
         AN ACCOUNT NUMBER                                                                    DESCRIPTION AND                                DEDUCTING
         (See Instructions Above.)                                                                VALUE OF                                    VALUE OF
                                                                                             PROPERTY SUBJECT                                COLLATERAL
                                                                                                   TO LIEN
                                                                                  DATE INCURRED:
ACCT #: x6794                                                                     NATURE OF LIEN:
                                                                                  Unknown
Susser Petroleum Company LLC                                                      COLLATERAL:
                                                                                  Petroleum                                                     $63,152.91        $13,152.91
5555 E. Airtex Drive                                            -                 REMARKS:
Houston, TX 77073



                                                                                  VALUE:                        $50,000.00




                                                                                                     Subtotal (Total of this Page) >             $63,152.91         $13,152.91
                                                                                                    Total (Use only on last page) >              $63,152.91          $13,152.91
________________continuation
       No                    sheets attached                                                                                                 (Report also on   (If applicable,
                                                                                                                                             Summary of        report also on
                                                                                                                                             Schedules.)       Statistical
                                                                                                                                                               Summary of
                                                                                                                                                               Certain Liabilities
                                                                                                                                                               and Related
                                                                                                                                                               Data.)
                    Case 08-20317 Document 1 Filed in TXSB on 06/06/08 Page 13 of 45
                                                                                                                                     06/06/2008 07:32:07pm
B6E (Official Form 6E) (12/07)

In re Rowland Andrade                                                                             Case No.
                                                                                                                            (If Known)



                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

¨ Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                       (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

¨ Domestic Support Obligations
    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
    or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
    provided in 11 U.S.C. § 507(a)(1).


¨ Extensions of credit in an involuntary case
    Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
    the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

¨ Wages, salaries, and commissions
    Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
    qualifying independent sales representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original
    petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).


¨ Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
    cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).


¨ Certain farmers and fishermen
    Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


¨ Deposits by individuals
    Claims of individuals up to $2,425* for deposits for the purchase, lease or rental of property or services for personal, family, or household use,
    that were not delivered or provided. 11 U.S.C. § 507(a)(7).


¨ Taxes and Certain Other Debts Owed to Governmental Units
    Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


¨ Commitments to Maintain the Capital of an Insured Depository Institution
    Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
    of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
    § 507(a)(9).


¨ Claims for Death or Personal Injury While Debtor Was Intoxicated
    Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
    alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).


þ Administrative allowances under 11 U.S.C. Sec. 330
    Claims based on services rendered by the trustee, examiner, professional person, or attorney and by any paraprofessional person employed
    by such person as approved by the court and/or in accordance with 11 U.S.C. §§ 326, 328, 329 and 330.


* Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.

________________continuation
       1                     sheets attached
                    Case 08-20317 Document 1 Filed in TXSB on 06/06/08 Page 14 of 45
                                                                                                                                                          06/06/2008 07:32:07pm
B6E (Official Form 6E) (12/07) - Cont.
In re Rowland Andrade                                                                                                     Case No.
                                                                                                                                                  (If Known)


                         SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                    TYPE OF PRIORITY       Administrative allowances




                                                         HUSBAND, WIFE, JOINT,




                                                                                                                      UNLIQUIDATED
                                                                                                                       CONTINGENT
                                                           OR COMMUNITY
                                              CODEBTOR
             CREDITOR'S NAME,                                                      DATE CLAIM WAS INCURRED                           AMOUNT         AMOUNT      AMOUNT




                                                                                                                        DISPUTED
              MAILING ADDRESS                                                       AND CONSIDERATION FOR                              OF         ENTITLED TO     NOT
            INCLUDING ZIP CODE,                                                             CLAIM                                     CLAIM        PRIORITY   ENTITLED TO
          AND ACCOUNT NUMBER                                                                                                                                  PRIORITY, IF
           (See instructions above.)                                                                                                                              ANY


ACCT #:                                                                          DATE INCURRED:   06/06/2008
                                                                                 CONSIDERATION:
Law Offices of Viviana S. Cavada                                                 Attorney Fees                                        $2,500.00       $2,500.00           $0.00
4646 Corona Suite 165                                                            REMARKS:
Corpus Christi, TX. 78411                                        -




Sheet no. __________
               1       of __________
                               1       continuation sheets                                  Subtotals (Totals of this page) >         $2,500.00       $2,500.00           $0.00
attached to Schedule of Creditors Holding Priority Claims                               Total >                                       $2,500.00
                                       (Use only on last page of the completed Schedule E.
                                       Report also on the Summary of Schedules.)

                                                                                          Totals >                                                    $2,500.00           $0.00
                                       (Use only on last page of the completed Schedule E.
                                       If applicable, report also on the Statistical Summary
                                       of Certain Liabilities and Related Data.)
                  Case 08-20317 Document 1 Filed in TXSB on 06/06/08 Page 15 of 45
                                                                                                                                                         06/06/2008 07:32:08pm
B6F (Official Form 6F) (12/07)
  In re Rowland Andrade                                                                                             Case No.
                                                                                                                                    (if known)



                    SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
¨ Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                              HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                     DATE CLAIM WAS                                          AMOUNT OF




                                                                                                                                          UNLIQUIDATED
                MAILING ADDRESS                                                                       INCURRED AND                                             CLAIM




                                                                                                                                           CONTINGENT
                                                                OR COMMUNITY
                                                   CODEBTOR




                                                                                                                                            DISPUTED
              INCLUDING ZIP CODE,                                                                  CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                            CLAIM.
             (See instructions above.)                                                           IF CLAIM IS SUBJECT TO
                                                                                                    SETOFF, SO STATE.


ACCT #: xxxxx8009                                                                     DATE INCURRED:   10/2006
                                                                                      CONSIDERATION:
Aaron Sales & Lease Ow                                                                Lease                                                                       $2,931.00
1015 Cobb Place Blvd Nw                                                               REMARKS:
                                                                  -
Kennesaw, GA 30144                                                                    Charge Off for $2649 on 06/08
                                                                                      Account Closed


ACCT #: xxxxx8173                                                                     DATE INCURRED:   11/2006
                                                                                      CONSIDERATION:
Aaron Sales & Lease Ow                                                                Lease                                                                       $1,305.00
1015 Cobb Place Blvd Nw                                                               REMARKS:
                                                                  -
Kennesaw, GA 30144                                                                    Charge Off for $1101 on 06/08
                                                                                      Account Closed


ACCT #: xxxx0876                                                                      DATE INCURRED:   10/2007
                                                                                      CONSIDERATION:
Asset Acceptance                                                                      Unknown Loan Type                                                             $446.00
PO Box 2036                                                                           REMARKS:
                                                                  -                                                                                X
Warren, MI 48090                                                                      Collection for Southwestern Bell beyond the
                                                                                      4 year statute of limitations


ACCT #: xxxx7805                                                                      DATE INCURRED:   2005
                                                                                      CONSIDERATION:
Calvary Portfolio Services                                                            Collection Attorney                                                           $484.00
Attention: Bankruptcy Department                                                      REMARKS:
                                                                  -
PO Box 1017                                                                           Collection
Hawthorne, NY 10532                                                                   ACCOUNT IN DISPUTE


ACCT #: xxx9576                                                                       DATE INCURRED:   03/2006
                                                                                      CONSIDERATION:
Calvary Portfolio Services                                                            Collection Attorney                                                           $505.00
Attention: Bankruptcy Department                                                      REMARKS:
                                                                  -                                                                                X
PO Box 1017                                                                           Collection- Unknown vendor/creditor
Hawthorne, NY 10532                                                                   ACCOUNT IN DISPUTE


ACCT #: xxxx5582                                                                      DATE INCURRED:   04/29/2002
                                                                                      CONSIDERATION:
Central Fin                                                                           Secured                                                                       $373.00
26254 1h West                                                                         REMARKS:
                                                                  -
Boerne, TX 78006                                                                      Charge Off for $373
                                                                                      Account Closed By Grantor


                                                                                                                                      Subtotal >                   $6,044.00

                                                                                                                        Total >
                                                                          (Use only on last page of the completed Schedule F.)
________________continuation
       3                     sheets attached                  (Report also on Summary of Schedules and, if applicable, on the
                                                                  Statistical Summary of Certain Liabilities and Related Data.)
                    Case 08-20317 Document 1 Filed in TXSB on 06/06/08 Page 16 of 45
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B6F (Official Form 6F) (12/07) - Cont.
  In re Rowland Andrade                                                                                                  Case No.
                                                                                                                                    (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                           DATE CLAIM WAS                                    AMOUNT OF




                                                                                                                                          UNLIQUIDATED
                MAILING ADDRESS                                                                             INCURRED AND                                       CLAIM




                                                                                                                                           CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                            DISPUTED
              INCLUDING ZIP CODE,                                                                        CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                  CLAIM.
             (See instructions above.)                                                                 IF CLAIM IS SUBJECT TO
                                                                                                          SETOFF, SO STATE.


ACCT #: xxxx5509                                                                          DATE INCURRED:    07/2007
                                                                                          CONSIDERATION:
Credit Management                                                                         Collection Attorney                                                     $1,374.00
4200 International Pwy                                                                    REMARKS:
                                                                      -
Carrolton, TX 75007                                                                       Collection--Time Warner



ACCT #: xxxxxx0089                                                                        DATE INCURRED:    07/2007
                                                                                          CONSIDERATION:
Credit Protect Assoc.                                                                     Collection Attorney                                                       $997.00
PO Box 802068                                                                             REMARKS:
                                                                      -
Dallas, TX 75380                                                                          Collection Grande Communications



ACCT #: xxxx4174                                                                          DATE INCURRED:    12/2007
                                                                                          CONSIDERATION:
Financial Corporation Of America                                                          Collection Attorney                                                       $300.00
Attn: Bankruptcy                                                                          REMARKS:
                                                                      -
PO Box 203500                                                                             Collection
Austin, TX 78720                                                                          Account Closed


ACCT #: xxxxxxxxxx1101                                                                    DATE INCURRED:    11/01/2001
                                                                                          CONSIDERATION:
Navy Federal Cr Union                                                                     Unsecured                                                                 $582.00
1 Security Place                                                                          REMARKS:
                                                                      -
Merrifield, VA 22116                                                                      Charge Off for $582 on 01/03
                                                                                          Account Closed


ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Oil Patch                                                                                 Credit Purchase                                                         $6,200.00
1526 NPID                                                                                 REMARKS:
                                                                      -
Corpus Christi, TX 78408



ACCT #: xxx7948                                                                           DATE INCURRED:    08/2007
                                                                                          CONSIDERATION:
Portfolio Recoveries                                                                      Unknown Loan Type                                                       $1,327.00
Attention: Bankruptcy Department                                                          REMARKS:
                                                                      -                                                                            X
PO Box 12914                                                                              Collection
Norfolk, VA 23541

Sheet no. __________
              1        of __________
                               3     continuation sheets attached to                                                                  Subtotal >                  $10,780.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
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B6F (Official Form 6F) (12/07) - Cont.
  In re Rowland Andrade                                                                                               Case No.
                                                                                                                                 (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                           DATE CLAIM WAS                                 AMOUNT OF




                                                                                                                                       UNLIQUIDATED
                MAILING ADDRESS                                                                             INCURRED AND                                    CLAIM




                                                                                                                                        CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                         DISPUTED
              INCLUDING ZIP CODE,                                                                        CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                  CLAIM.
             (See instructions above.)                                                                 IF CLAIM IS SUBJECT TO
                                                                                                          SETOFF, SO STATE.


ACCT #: xxxx9947                                                                          DATE INCURRED:   08/2007
                                                                                          CONSIDERATION:
Portfolio Recoveries                                                                      Unknown Loan Type                                                      $162.00
Attention: Bankruptcy Department                                                          REMARKS:
                                                                      -
PO Box 12914                                                                              Collection
Norfolk, VA 23541

ACCT #: xxxxxxxxxxxxx9020                                                                 DATE INCURRED:   08/2004
                                                                                          CONSIDERATION:
U S Dept Of Ed/fisl/sf                                                                    Educational                                                            $630.00
Po Box 4222                                                                               REMARKS:
                                                                      -
Iowa City, IA 52244                                                                       Collection
                                                                                          Account Closed By Grantor


ACCT #: xxxxxxxxxxxxx8010                                                                 DATE INCURRED:   10/2003
                                                                                          CONSIDERATION:
U S Dept Of Ed/fisl/sf                                                                    Educational                                                          $1,656.00
Po Box 4222                                                                               REMARKS:
                                                                      -
Iowa City, IA 52244                                                                       Collection
                                                                                          Account Closed By Grantor


ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Cindy Boudloche, Trustee                                                                  Required Notification
555 N. Carancahua, Ste 600                                                                REMARKS:
Corpus Christi, TX 78478



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Internal Revenue Service                                                                  Required Notification
P.O. Box 8669                                                                             REMARKS:
Philadelphia, PA 19162-8669



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
National Bankruptcy Service Center                                                        Required Notification
PO Box 537901                                                                             REMARKS:
Livonia, MI 48153-7901



Sheet no. __________
              2        of __________
                               3     continuation sheets attached to                                                               Subtotal >                   $2,448.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
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B6F (Official Form 6F) (12/07) - Cont.
  In re Rowland Andrade                                                                                            Case No.
                                                                                                                              (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                AMOUNT OF




                                                                                                                                    UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                   CLAIM




                                                                                                                                     CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                      DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Texas Comptroller of Public Accounts                                                      Required Notification
Bankruptcy Division                                                                       REMARKS:
PO Box 13528
Austin, TX 78711-3528

ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Texas Workforce Commission                                                                Required Notification
TWC Building                                                                              REMARKS:
Austin, TX 78778




Sheet no. __________
              3        of __________
                               3     continuation sheets attached to                                                            Subtotal >                       $0.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >                         $19,272.00
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
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B6G (Official Form 6G) (12/07)
   In re Rowland Andrade                                                                Case No.
                                                                                                        (if known)



                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
State nature of debtor's interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease.
Provide the names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to
one of the leases of contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a
minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).


þ Check this box if debtor has no executory contracts or unexpired leases.
                                                                         DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR'S
                                                                         INTEREST. STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL
            NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT
              OF OTHER PARTIES TO LEASE OR CONTRACT.                     CONTRACT.
                     Case 08-20317 Document 1 Filed in TXSB on 06/06/08 Page 20 of 45
                                                                                                                                        06/06/2008 07:32:09pm
B6H (Official Form 6H) (12/07)
In re Rowland Andrade                                                                              Case No.
                                                                                                                           (if known)



                                                        SCHEDULE H - CODEBTORS
Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor
in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or
territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-
year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of any former spouse who resides or
resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the nondebtor spouse during the eight
years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112
and Fed. R. Bankr. P. 1007(m).

þ Check this box if debtor has no codebtors.
                     NAME AND ADDRESS OF CODEBTOR                                                     NAME AND ADDRESS OF CREDITOR
                     Case 08-20317 Document 1 Filed in TXSB on 06/06/08 Page 21 of 45
                                                                                                                                   06/06/2008 07:32:09pm
B6I (Official Form 6I) (12/07)
In re Rowland Andrade                                                                            Case No.
                                                                                                                     (if known)



                            SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is filed,
unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income calculated on
this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
 Debtor's Marital Status:                                             Dependents of Debtor and Spouse
                                 Relationship(s):                 Age(s):             Relationship(s):                            Age(s):
           Single




 Employment:                      Debtor                                                     Spouse
 Occupation                      Manager
 Name of Employer                Brights Energy, Inc.
 How Long Employed               2 years
 Address of Employer             1635 South Staples
                                 Corpus Christi, TX 78404

INCOME: (Estimate of average or projected monthly income at time case filed)                                      DEBTOR                    SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                                       $0.00
2. Estimate monthly overtime                                                                                        $0.00
3. SUBTOTAL                                                                                                          $0.00
4. LESS PAYROLL DEDUCTIONS
   a. Payroll taxes (includes social security tax if b. is zero)                                                     $0.00
   b. Social Security Tax                                                                                            $0.00
   c. Medicare                                                                                                       $0.00
   d. Insurance                                                                                                      $0.00
   e. Union dues                                                                                                     $0.00
   f. Retirement                                                                                                     $0.00
   g. Other (Specify)                                                                                                $0.00
   h. Other (Specify)                                                                                                $0.00
   i. Other (Specify)                                                                                                $0.00
   j. Other (Specify)                                                                                                $0.00
   k. Other (Specify)                                                                                                $0.00
5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                    $0.00
6.   TOTAL NET MONTHLY TAKE HOME PAY                                                                                 $0.00
7. Regular income from operation of business or profession or farm (Attach detailed stmt)                            $0.00
8. Income from real property                                                                                         $0.00
9. Interest and dividends                                                                                            $0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or                           $0.00
    that of dependents listed above
11. Social security or government assistance (Specify):
                                                                                                                     $0.00
12. Pension or retirement income                                                                                     $0.00
13. Other monthly income (Specify):
     a.                                                                                                              $0.00
     b.                                                                                                              $0.00
     c.                                                                                                              $0.00
14. SUBTOTAL OF LINES 7 THROUGH 13                                                                                   $0.00
15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                                     $0.00
16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                                     $0.00
                                                                       (Report also on Summary of Schedules and, if applicable,
                                                                       on Statistical Summary of Certain Liabilities and Related Data)
17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
None.
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                                                                                                                                 06/06/2008 07:32:09pm
B6J (Official Form 6J) (12/07)
  IN RE: Rowland Andrade                                                                        Case No.
                                                                                                                   (if known)



                    SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case filed. Prorate any
payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may
differ from the deductions from income allowed on Form 22A or 22C.

¨ Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of expenditures
    labeled "Spouse."


 1. Rent or home mortgage payment (include lot rented for mobile home)
    a. Are real estate taxes included?        þ Yes      ¨ No
    b. Is property insurance included?        þ Yes      ¨ No
 2. Utilities: a. Electricity and heating fuel
               b. Water and sewer
               c. Telephone
               d. Other:
 3. Home maintenance (repairs and upkeep)
 4. Food
 5. Clothing
 6. Laundry and dry cleaning
 7. Medical and dental expenses
 8. Transportation (not including car payments)
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.
 10. Charitable contributions
 11. Insurance (not deducted from wages or included in home mortgage payments)
           a. Homeowner's or renter's
           b. Life
           c. Health
           d. Auto
           e. Other:
 12. Taxes (not deducted from wages or included in home mortgage payments)
 Specify:
 13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
             a. Auto:
             b. Other:
             c. Other:
             d. Other:
 14. Alimony, maintenance, and support paid to others:
 15. Payments for support of add'l dependents not living at your home:
 16. Regular expenses from operation of business, profession, or farm (attach detailed statement)
 17.a. Other:
 17.b. Other:
 18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,
                                                                                                                                               $0.00
    if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
 19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this
 document: None.


 20. STATEMENT OF MONTHLY NET INCOME
 a. Average monthly income from Line 15 of Schedule I                                                                                          $0.00
 b. Average monthly expenses from Line 18 above                                                                                                $0.00
 c. Monthly net income (a. minus b.)                                                                                                           $0.00
                   Case 08-20317 Document 1 Filed in TXSB on 06/06/08 Page 23 of 45
                                                                                                                    06/06/2008 07:32:11pm
B6 Summary (Official Form 6 - Summary) (12/07)
                                             UNITED STATES BANKRUPTCY COURT
                                                SOUTHERN DISTRICT OF TEXAS
                                                  CORPUS CHRISTI DIVISION
   In re Rowland Andrade                                                             Case No.

                                                                                     Chapter      13


                                                       SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from
Schedules A, B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the
debtor's assets. Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor's liabilities.
Individual debtors also must complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under
chapter 7, 11, or 13.


                                          ATTACHED NO. OF
 NAME OF SCHEDULE                                                       ASSETS                 LIABILITIES                OTHER
                                           (YES/NO) SHEETS

 A - Real Property                               Yes      1                        $0.00


 B - Personal Property                           Yes      4                        $0.00

 C - Property Claimed                            Yes      1
     as Exempt
 D - Creditors Holding                           Yes      1                                            $63,152.91
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                             Yes      2                                             $2,500.00
     (Total of Claims on Schedule E)
 F - Creditors Holding Unsecured                 Yes      4                                            $19,272.00
     Nonpriority Claims
 G - Executory Contracts and                     Yes      1
    Unexpired Leases

 H - Codebtors                                   Yes      1


 I - Current Income of                           Yes      1                                                                       $0.00
     Individual Debtor(s)

 J - Current Expenditures of                     Yes      1                                                                       $0.00
    Individual Debtor(s)

                                             TOTAL        17                       $0.00               $84,924.91
                     Case 08-20317 Document 1 Filed in TXSB on 06/06/08 Page 24 of 45
                                                                                                                     06/06/2008 07:32:11pm
Form 6 - Statistical Summary (12/07)
                                            UNITED STATES BANKRUPTCY COURT
                                               SOUTHERN DISTRICT OF TEXAS
                                                 CORPUS CHRISTI DIVISION
   In re Rowland Andrade                                                              Case No.

                                                                                      Chapter       13

     STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11, or 13, you must report all information requested below.


¨ Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
    information here.
This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.

 Type of Liability                                                    Amount
 Domestic Support Obligations (from Schedule E)                                    $0.00

 Taxes and Certain Other Debts Owed to Governmental Units                          $0.00
 (from Schedule E)

 Claims for Death or Personal Injury While Debtor Was                              $0.00
 Intoxicated (from Schedule E) (whether disputed or undisputed)

 Student Loan Obligations (from Schedule F)                                    $2,286.00

 Domestic Support, Separation Agreement, and Divorce Decree                        $0.00
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar                       $0.00
 Obligations (from Schedule F)

                                                            TOTAL              $2,286.00

State the following:
 Average Income (from Schedule I, Line 16)                                         $0.00

 Average Expenses (from Schedule J, Line 18)                                       $0.00

 Current Monthly Income (from Form 22A Line 12; OR, Form 22B
 Line 11; OR, Form 22C Line 20)                                                    $0.00

State the following:
 1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
 column                                                                                             $13,152.91

 2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
 column.                                                                       $2,500.00

 3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
 PRIORITY, IF ANY" column                                                                                $0.00

 4. Total from Schedule F                                                                           $19,272.00

 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                       $32,424.91
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B6 Declaration (Official Form 6 - Declaration) (12/07)
In re Rowland Andrade                                                                  Case No.
                                                                                                             (if known)



                               DECLARATION CONCERNING DEBTOR'S SCHEDULES
                           DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR
    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                    19
sheets, and that they are true and correct to the best of my knowledge, information, and belief.



Date 06/06/2008                                              Signature    /s/ Rowland Andrade
                                                                         Rowland Andrade

Date                                                         Signature

                                                             [If joint case, both spouses must sign.]




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or
both. 18 U.S.C. §§ 152 and 3571.
                     Case 08-20317 Document 1 Filed in TXSB on 06/06/08 Page 26 of 45
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B7 (Official Form 7) (12/07)                    UNITED STATES BANKRUPTCY COURT
                                                    SOUTHERN DISTRICT OF TEXAS
                                                      CORPUS CHRISTI DIVISION
   In re:   Rowland Andrade                                                                          Case No.
                                                                                                                             (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS

       1. Income from employment or operation of business
None
       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
 þ     including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
       case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that
       maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
       beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
       under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)


       2. Income other than from employment or operation of business
None
       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business during the
 þ     two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
       separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed,
       unless the spouses are separated and a joint petition is not filed.)


       3. Payments to creditors
       Complete a. or b., as appropriate, and c.
None
       a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
 þ     debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that
       constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account
       of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
       counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)


None
       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately
 þ     preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
       $5,475. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
       obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency.
       (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)


None
       c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors
 þ     who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       4. Suits and administrative proceedings, executions, garnishments and attachments
None
       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
 þ     bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


None
       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
 þ     the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       5. Repossessions, foreclosures and returns
None
       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned
 þ     to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)
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B7 (Official Form 7) (12/07) - Cont.           UNITED STATES BANKRUPTCY COURT
                                                   SOUTHERN DISTRICT OF TEXAS
                                                     CORPUS CHRISTI DIVISION
   In re:   Rowland Andrade                                                                        Case No.
                                                                                                                           (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                   Continuation Sheet No. 1



       6. Assignments and receiverships
None
       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
 þ     (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is
       filed, unless the spouses are separated and a joint petition is not filed.)

None
       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
 þ     commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       7. Gifts
None
       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
 þ     gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
       per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a
       joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       8. Losses
None
       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
 þ     commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
       a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       9. Payments related to debt counseling or bankruptcy
None
       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
 þ     consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
       of this case.


       10. Other transfers
None
       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred
 þ     either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12
       or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)


       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or
None
       similar device of which the debtor is a beneficiary.
 þ
       11. Closed financial accounts
None
       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
 þ     transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
       certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
       brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
       accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)


       12. Safe deposit boxes
None
       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
 þ     preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
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B7 (Official Form 7) (12/07) - Cont.            UNITED STATES BANKRUPTCY COURT
                                                    SOUTHERN DISTRICT OF TEXAS
                                                      CORPUS CHRISTI DIVISION
   In re:   Rowland Andrade                                                                         Case No.
                                                                                                                           (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 2



       13. Setoffs
None
       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
 þ     case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)



       14. Property held for another person
None
       List all property owned by another person that the debtor holds or controls.
 þ
       15. Prior address of debtor
None
       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied
 þ     during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either
       spouse.



       16. Spouses and Former Spouses
None
       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
 þ     Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case,
       identify the name of the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.


       17. Environmental Information
       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic
       substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or
       regulations regulating the cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated
       by the debtor, including, but not limited to, disposal sites.

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or
       contaminant or similar term under an Environmental Law.



None a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
 þ     potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
       Environmental Law:



None b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material.
 þ     Indicate the governmental unit to which the notice was sent and the date of the notice.



None c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor is
 þ     or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.
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B7 (Official Form 7) (12/07) - Cont.            UNITED STATES BANKRUPTCY COURT
                                                    SOUTHERN DISTRICT OF TEXAS
                                                      CORPUS CHRISTI DIVISION
   In re:   Rowland Andrade                                                                           Case No.
                                                                                                                              (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 3



       18. Nature, location and name of business
None
       a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
 þ     dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership,
       sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the
       commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years immediately
       preceding the commencement of this case.

       If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years
       immediately preceding the commencement of this case.

       If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years
       immediately preceding the commencement of this case.


None
       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.
 þ

       The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has been,
       within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or owner of
       more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole proprietor, or
       self-employed in a trade, profession, or other activity, either full- or part-time.

       (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above, within
       six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
       directly to the signature page.)


       19. Books, records and financial statements
None
       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or supervised the
 þ     keeping of books of account and records of the debtor.


None
       b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy case have audited the books of account
 þ     and records, or prepared a financial statement of the debtor.


None
       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the
 þ     debtor. If any of the books of account and records are not available, explain.


None
       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was issued by
 þ     the debtor within two years immediately preceding the commencement of this case.



       20. Inventories
None
       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the
 þ     dollar amount and basis of each inventory.


None
       b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.
 þ
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B7 (Official Form 7) (12/07) - Cont.            UNITED STATES BANKRUPTCY COURT
                                                    SOUTHERN DISTRICT OF TEXAS
                                                      CORPUS CHRISTI DIVISION
   In re:   Rowland Andrade                                                                           Case No.
                                                                                                                               (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                     Continuation Sheet No. 4



       21. Current Partners, Officers, Directors and Shareholders
None
       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.
 þ

None
       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls, or
 þ     holds 5 percent or more of the voting or equity securities of the corporation.


       22. Former partners, officers, directors and shareholders
None
       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the commencement
 þ     of this case.


None
       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year immediately
 þ     preceding the commencement of this case.



       23. Withdrawals from a partnership or distributions by a corporation
None
       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form,
 þ     bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of this
       case.


       24. Tax Consolidation Group
None
       If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any consolidated group for tax
 þ     purposes of which the debtor has been a member at any time within six years immediately preceding the commencement of the case.




       25. Pension Funds
None
       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an employer,
 þ     has been responsible for contributing at any time within six years immediately preceding the commencement of the case.
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B7 (Official Form 7) (12/07) - Cont.      UNITED STATES BANKRUPTCY COURT
                                              SOUTHERN DISTRICT OF TEXAS
                                                CORPUS CHRISTI DIVISION
   In re:   Rowland Andrade                                                              Case No.
                                                                                                              (if known)



                                           STATEMENT OF FINANCIAL AFFAIRS
                                                            Continuation Sheet No. 5



[If completed by an individual or individual and spouse]
I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
attachments thereto and that they are true and correct.
Date 06/06/2008                                                Signature         /s/ Rowland Andrade
                                                               of Debtor         Rowland Andrade

Date                                                           Signature
                                                               of Joint Debtor
                                                               (if any)
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both.
18 U.S.C. §§ 152 and 3571
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B201 (04/09/06)                           UNITED STATES BANKRUPTCY COURT
                                             SOUTHERN DISTRICT OF TEXAS
                                               CORPUS CHRISTI DIVISION
IN RE:   Rowland Andrade




                    NOTICE TO INDIVIDUAL CONSUMER DEBTOR(S) UNDER § 342(b)
                                    OF THE BANKRUPTCY CODE
In accordance with § 342(b) of the Bankruptcy Code, this notice: (1) Describes briefly the services available from credit
counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of bankruptcy proceedings you may
commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General may examine all information
you supply in connection with a bankruptcy case. You are cautioned that bankruptcy law is complicated and not easily
described. Thus, you may wish to seek the advice of an attorney to learn of your rights and responsibilities should you decide to
file a petition. Court employees cannot give you legal advice.


1. Services Available from Credit Counseling Agencies
With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy relief on
or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and provides
assistance in performing a budget analysis. The briefing must be given within 180 days BEFORE the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator.
The clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies.

In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

Chapter 7:     Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $299)
1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted
to proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in
some cases, creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It
is up to the court to decide whether the case should be dismissed.

2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.

3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it
does, the purpose for which you filed the bankruptcy petition will be defeated.

4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not
properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or
aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty,
or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.

Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income
($235 filing fee, $39 administrative fee: Total fee $274)
1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over
a period of time. You are eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.

2. Under Chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
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B201 (04/09/06)                           UNITED STATES BANKRUPTCY COURT                                                              Page 2
                                             SOUTHERN DISTRICT OF TEXAS
                                               CORPUS CHRISTI DIVISION
IN RE:   Rowland Andrade




3. After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in
your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

Chapter 12: Family Farmer or Fisherman               ($200 filing fee, $39 administrative fee: Total fee $239)
Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily
from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the
United States Trustee, the Office of the United States Attorney, and other components and employees of the Department of
Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local
rules of the court.

                          Certificate of Compliance with § 342(b) of the Bankruptcy Code
I,              Viviana S. Cavada                    , counsel for Debtor(s), hereby certify that I delivered to the Debtor(s) the Notice
required by § 342(b) of the Bankruptcy Code.

/s/ Viviana S. Cavada
Viviana S. Cavada, Attorney for Debtor(s)
Bar No.: SDT 3450
Law Offices of Viviana S. Cavada
4646 Corona Suite 165
Corpus Christi, TX. 78411
Phone: (361) 814-6500
Fax: (361) 814-8618
E-Mail: viviana@cavadalawoffice.com




                                                     Certificate of the Debtor
I (We), the debtor(s), affirm that I (we) have received and read this notice.

Rowland Andrade                                                       X    /s/ Rowland Andrade                          06/06/2008
                                                                          Signature of Debtor                           Date
Printed Name(s) of Debtor(s)
                                                                      X
Case No. (if known)                                                       Signature of Joint Debtor (if any)            Date
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                                                                                                                       06/06/2008 07:32:13pm
                                         UNITED STATES BANKRUPTCY COURT
                                            SOUTHERN DISTRICT OF TEXAS
                                              CORPUS CHRISTI DIVISION
IN RE:    Rowland Andrade                                                              CASE NO

                                                                                       CHAPTER       13

                   DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

   For legal services, I have agreed to accept:                               Fixed Fee:          $5,500.00
   Prior to the filing of this statement I have received:                                         $3,000.00
   Balance Due:                                                                                   $2,500.00

2. The source of the compensation paid to me was:
            þ Debtor                    ¨ Other (specify)
3. The source of compensation to be paid to me is:
            þ Debtor                    ¨ Other (specify)
4. þ I have not agreed to share the above-disclosed compensation with any other person unless they are members and
     associates of my law firm.

   ¨ I have agreed to share the above-disclosed compensation with another person or persons who are not members or
         associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
         compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
   a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
   bankruptcy;
   b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
   c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:


                                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
   representation of the debtor(s) in this bankruptcy proceeding.


                    06/06/2008                              /s/ Viviana S. Cavada
                       Date                                 Viviana S. Cavada                          Bar No. SDT 3450
                                                            Law Offices of Viviana S. Cavada
                                                            4646 Corona Suite 165
                                                            Corpus Christi, TX. 78411
                                                            Phone: (361) 814-6500 / Fax: (361) 814-8618




    /s/ Rowland Andrade
   Rowland Andrade
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                                      UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF TEXAS
                                           CORPUS CHRISTI DIVISION
  IN RE:   Rowland Andrade                                                          CASE NO

                                                                                   CHAPTER       13

                                     VERIFICATION OF CREDITOR MATRIX


      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 06/06/2008                                          Signature    /s/ Rowland Andrade
                                                                     Rowland Andrade



Date                                                     Signature




                                                                       /s/ Viviana S. Cavada
                                                                     Viviana S. Cavada
                                                                     SDT 3450
                                                                     Law Offices of Viviana S. Cavada
                                                                     4646 Corona Suite 165
                                                                     Corpus Christi, TX. 78411
                                                                     (361) 814-6500
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                  Aaron Sales & Lease Ow
                  1015 Cobb Place Blvd Nw
                  Kennesaw, GA 30144



                  Asset Acceptance
                  PO Box 2036
                  Warren, MI 48090



                  Calvary Portfolio Services
                  Attention: Bankruptcy Department
                  PO Box 1017
                  Hawthorne, NY 10532


                  Central Fin
                  26254 1h West
                  Boerne, TX 78006



                  Cindy Boudloche, Trustee
                  555 N. Carancahua, Ste 600
                  Corpus Christi, TX 78478



                  Credit Management
                  4200 International Pwy
                  Carrolton, TX 75007



                  Credit Protect Assoc.
                  PO Box 802068
                  Dallas, TX 75380



                  Financial Corporation Of America
                  Attn: Bankruptcy
                  PO Box 203500
                  Austin, TX 78720


                  Internal Revenue Service
                  P.O. Box 8669
                  Philadelphia, PA 19162-8669
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                  Law Offices of Viviana S. Cavada
                  4646 Corona Suite 165
                  Corpus Christi, TX. 78411



                  National Bankruptcy Service Center
                  PO Box 537901
                  Livonia, MI 48153-7901



                  Navy Federal Cr Union
                  1 Security Place
                  Merrifield, VA 22116



                  Oil Patch
                  1526 NPID
                  Corpus Christi, TX 78408



                  Portfolio Recoveries
                  Attention: Bankruptcy Department
                  PO Box 12914
                  Norfolk, VA 23541


                  Susser Petroleum Company LLC
                  5555 E. Airtex Drive
                  Houston, TX 77073



                  Texas Comptroller of Public Accounts
                  Bankruptcy Division
                  PO Box 13528
                  Austin, TX 78711-3528


                  Texas Workforce Commission
                  TWC Building
                  Austin, TX 78778



                  U S Dept Of Ed/fisl/sf
                  Po Box 4222
                  Iowa City, IA 52244
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B22C (Official Form 22C) (Chapter 13) (01/08)                       According to the calculations required by this statement:
In re: Rowland Andrade                                              þ The applicable commitment period is 3 years.
                                                                    ¨ The applicable commitment period is 5 years.
Case Number:                                                        ¨ Disposable income is determined under § 1325(b)(3).
                                                                    þ Disposable income is not determined under § 1325(b)(3).
                                                                     (Check the boxes as directed in Lines 17 and 23 of this statement.)
                    CHAPTER 13 STATEMENT OF CURRENT MONTHLY INCOME
              AND CALCULATION OF COMMITMENT PERIOD AND DISPOSABLE INCOME
In addition to Schedules I and J, this statement must be completed by every individual chapter 13 debtor, whether or not filing jointly.
Joint debtors may complete one statement only.

                                                    Part I. REPORT OF INCOME
       Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
       a. þ Unmarried. Complete only Column A ("Debtor's Income") for Lines 2-10.
       b. ¨ Married. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 2-10.
       All figures must reflect average monthly income received from all sources, derived
                                                                                                          Column A          Column B
 1     during the six calendar months prior to filing the bankruptcy case, ending on the last day
       of the month before the filing. If the amount of monthly income varied during the six
                                                                                                           Debtor's         Spouse's
       months, you must divide the six-month total by six, and enter the result on the                      Income            Income
       appropriate line.
 2     Gross wages, salary, tips, bonuses, overtime, commissions.                                                  $0.00
       Income from the operation of a business, profession, or farm. Subtract Line b from
       Line a and enter the difference in the appropriate column(s) of Line 3. If you operate more
       than one business, profession or farm, enter aggregate numbers and provide details on
 3     an attachment. Do not enter a number less than zero. Do not include any part of the
       business expenses entered on Line b as a deduction in Part IV.
         a.   Gross receipts                                              $0.00
         b.   Ordinary and necessary business expenses                    $0.00
         c. Business income                                       Subtract Line b from Line a                      $0.00
       Rent and other real property income. Subtract Line b from Line a and enter the
       difference in the appropriate column(s) of Line 4. Do not enter a number less than zero.
       Do not include any part of of the operating expenses entered on Line b as a deduction
 4     in Part IV.
         a. Gross receipts                                               $0.00
         b. Ordinary and necessary operating expenses                    $0.00
         c. Rent and other real property income                Subtract Line b from Line a                         $0.00
 5     Interest, dividends, and royalties.                                                                         $0.00
 6     Pension and retirement income.                                                                              $0.00
       Any amounts paid by another person or entity, on a regular basis, for the household
 7     expenses of the debtor or the debtor's dependents, including child support paid for                         $0.00
       that purpose. Do not include alimony or separate maintenance payments or amounts
       paid by the debtor's spouse.
       Unemployment compensation. Enter the amount in the appropriate column(s) of Line 8.
       However, if you contend that unemployment compensation received by you or your
 8     spouse was a benefit under the Social Security Act, do not list the amount of such
       compensation in Column A or B, but instead state the amount in the space below:

         Unemployment compensation claimed to be a                     Debtor          Spouse
         benefit under the Social Security Act                          $0.00                                      $0.00
       Income from all other sources. Specify source and amount. If necessary, list additional
       sources on a separate page. Total and enter on Line 9. Do not include alimony or
       separate maintenance payments paid by your spouse, but include all other payments
       of alimony or separate maintenance. Do not include any benefits received under the
       the Social Security Act or payments received as a victim of a war crime, crime against
 9
       humanity, or as a victim of international or domestic terrorism.

         a.
         b.
                                                                                                                   $0.00


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 10    Subtotal. Add Lines 2 thru 9 in Column A, and, if Column B is completed, add Lines 2                       $0.00
       through 9 in Column B. Enter the total(s).
       Total. If Column B has been completed, add Line 10, Column A to Line 10, Column B,
 11    and enter the total. If Column B has not been completed, enter the amount from Line 10,                                $0.00
       Column A.

                              Part II. CALCULATION OF § 1325(b)(4) COMMITMENT PERIOD
 12    Enter the amount from Line 11.                                                                                                  $0.00
       Marital adjustment. If you are married, but are not filing jointly with your spouse, AND if you contend that
 13    calculation of the commitment period under § 1325(b)(4) does not require inclusion of the income of your
       spouse, enter on Line 13 the amount of income listed in Line 10, Column B that was NOT paid on a
       regular basis for the household expenses of you or your dependents and specify, in the lines below, the
       basis for excluding this income (such as payment of the spouse's tax liability or the spouse's support of
       persons other than the debtor or the debtor's dependents) and the amount of income devoted to each
       purpose. If necessary, list additional adjustments on a separate page. If the conditions for entering this
       adjustment do not apply, enter zero.

         a.
         b.
         c.
       Total and enter on Line 13.
 14    Subtract Line 13 from Line 12 and enter the result.                                                                             $0.00
       Annualized current monthly income for § 1325(b)(4). Multiply the amount from Line 14 by the number 12
 15                                                                                                                                    $0.00
       and enter the result.
       Applicable median family income. Enter the median family income for applicable state and household
       size. (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
 16    court.)

       a. Enter debtor's state of residence:               Texas              b. Enter debtor's household size:    1             $36,285.00
       Application of § 1325(b)(4). Check the applicable box and proceed as directed.

       þ The amount on Line 15 is less than the amount on Line 16. Check the box for "The applicable commitment period is
 17           3 years" at the top of page 1 of this statement and continue with this statement.

       ¨ The amount on Line 15 is not less than the amount on Line 16. Check the box for "The applicable commitment period
              is 5 years" at the top of page 1 of this statement and continue with this statement.

                 Part III. APPLICATION OF § 1325(b)(3) FOR DETERMINING DISPOSABLE INCOME
 18    Enter the amount from Line 11.                                                                                                  $0.00
       Marital adjustment. If you are married, but are not filing jointly with your spouse, enter on Line 19 the total
 19    of any income listed in Line 10, Column B that was NOT paid on a regular basis for the household
       expenses of the debtor or the debtor's dependents. Specify in the lines below the basis for excluding the
       Column B income (such as payment of the spouse's tax liability or the spouse's support of persons other
       than the debtor or the debtor's dependents) and the amount of income devoted to each purpose. If
       necessary, list additional adjustments on a separate page. If the conditions for entering this adjustment
       do not apply, enter zero.




       Total and enter on Line 19.




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 20    Current monthly income for § 1325(b)(3). Subtract Line 19 from Line 18 and enter the result.                                  $0.00

       Annualized current monthly income for § 1325(b)(3). Multiply the amount from Line 20 by the number 12
 21
       and enter the result.                                                                                                         $0.00
 22    Applicable median family income. Enter the amount from Line 16.                                                         $36,285.00
       Application of § 1325(b)(3). Check the applicable box and proceed as directed.
       ¨ The amount on Line 21 is more than the amount on Line 22. Check the box for "Disposable income is determined
 23       under § 1325(b)(3)" at the top of page 1 of this statement and complete the remaining parts of this statement.
       þ The amount on Line 21 is not more than the amount on Line 22. Check the box for "Disposable income is not
              determined under § 1325(b)(3)" at the top of page 1 of this statement and complete Part VII of this statement. DO NOT
              COMPLETE PARTS IV, V, OR VI.


                                Part IV. CALCULATION OF DEDUCTIONS FROM INCOME
                        Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
       National Standards: food, apparel and services, housekeeping supplies, personal care, and
       miscellaneous. Enter in Line 24A the "Total" amount from IRS National Standards for Allowable Living
 24A   Expenses for the applicable household size. (This information is available at www.usdoj.gov/ust/ or from
       the clerk of the bankruptcy court.)

       National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for
 24B   Out-of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards
       for Out-of-Pocket Health Care for persons 65 years of age or older. (This information is available at
       www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the number of members of
       your household who are under 65 years of age and enter in Line b2 the number of members of your
       household who are 65 years of age or older. (The total number of household members must be the
       same as the number stated in Line 16b.) Multiply Line a1 by Line b1 to obtain a total amount for
       household members under 65, and enter the result in Line c1. Multiply Line a2 by Line b2 to obtain a total
       amount for household members 65 and older, and enter the result in Line c2. Add Lines c1 and c2 to
       obtain a total health care amount, and enter the result in Line 24B.

         Household members under 65 years of age                   Household members 65 years of age or older

         a1.    Allowance per member                               a2.   Allowance per member
         b1.    Number of members                                  b2.   Number of members

         c1.    Subtotal                                           c2.   Subtotal

       Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing
 25A   and Utilities Standards; non-mortgage expenses for the applicable county and household size. (This
       information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)

       Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the
       IRS Housing and Utilities Standards; mortgage/rent expense for your county and household size (this
       information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter on Line b the
       total of the Average Monthly Payments for any debts secured by your home, as stated in Line 47; subtract
 25B   Line b from Line a and enter the result in Line 25B. DO NOT ENTER AN AMOUNT LESS THAN ZERO.

         a.    IRS Housing and Utilities Standards; mortgage/rent expense
         b.    Average Monthly Payment for any debts secured by your home, if
               any, as stated in Line 47
         c.    Net mortgage/rental expense                                              Subtract Line b from Line a.
       Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 25A
       and 25B does not accurately compute the allowance to which you are entitled under the IRS Housing and
       Utilities Standards, enter any additional amount to which you contend you are entitled, and state the basis
 26    for your contention in the space below:




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       Local Standards: transportation; vehicle operation/public transportation expense.
       You are entitled to an expense allowance in this category regardless of whether you pay the expenses of
       operating a vehicle and regardless of whether you use public transportation.
 27A   Check the number of vehicles for which you pay the operating expenses or for which the operating expenses
       are included as a contribution to your household expenses in Line 7.   ¨ 0 ¨ 1 ¨ 2 or more.
       If you checked 0, enter on Line 27A the "Public Transportation" amount from IRS Local Standards:
       Transportation. If you checked 1 or 2 or more, enter on Line 27A the "Operating Costs" amount from IRS
       Local Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan
       Statistical Area or Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk
       of the bankruptcy court.)

       Local Standards: transportation; additional public transportation expense.
       If you pay the operating expenses for a vehicle and also use public transportation, and you contend that
 27B   you are entitled to an additional deduction for your public transportation expenses, enter on Line 27B the
       "Public Transportation" amount from IRS Local Standards: Transportation. (This amount is available at
       www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)

       Local Standards: transportation ownership/lease expense; Vehicle 1.
       Check the number of vehicles for which you claim an ownership/lease expense. (You may not claim an
       ownership/lease expense for more than two vehicles.)          ¨ 1 ¨ 2 or more
       Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
       (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
       Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 47; subtract Line b from
 28    Line a and enter the result in Line 28. DO NOT ENTER AN AMOUNT LESS THAN ZERO.

         a.   IRS Transportation Standards, Ownership Costs
         b.   Average Monthly Payment for any debts secured by Vehicle 1, as
              stated in Line 47
         c.   Net ownership/lease expense for Vehicle 1                                 Subtract Line b from Line a.
       Local Standards: transportation ownership/lease expense; Vehicle 2.
       Complete this Line only if you checked the "2 or more" Box in Line 28.
       Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
       (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
       Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 47; subtract Line b from
 29    Line a and enter the result in Line 29. DO NOT ENTER AN AMOUNT LESS THAN ZERO.

         a.   IRS Transportation Standards, Ownership Costs
         b.   Average Monthly Payment for any debts secured by Vehicle 2, as
              stated in Line 47
         c.   Net ownership/lease expense for Vehicle 2                                 Subtract Line b from Line a.
       Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all
       federal, state, and local taxes, other than real estate and sales taxes, such as income taxes, self-
 30    employment taxes, social-security taxes, and Medicare taxes. DO NOT INCLUDE REAL ESTATE OR
       SALES TAXES.
       Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly
       deductions that are required for your employment, such as mandatory retirement contributions, union
 31    dues, and uniform costs. DO NOT INCLUDE DISCRETIONARY AMOUNTS, SUCH AS VOLUNTARY
       401(K) CONTRIBUTIONS.

       Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay
 32    for term life insurance for yourself. DO NOT INCLUDE PREMIUMS FOR INSURANCE ON YOUR
       DEPENDENTS, FOR WHOLE LIFE OR FOR ANY OTHER FORM OF INSURANCE.
       Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are
 33    required to pay pursuant to the order of a court or administrative agency, such as spousal or child support
       payments. DO NOT INCLUDE PAYMENTS ON PAST DUE OBLIGATIONS INCLUDED IN LINE 49.




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       Other Necessary Expenses: education for employment or for a physically or mentally challenged child.
       Enter the total average monthly amount that you actually expend for education that is a condition of
 34    employment and for education that is required for a physically or mentally challenged dependent child for
       whom no public education providing similar services is available.
       Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend on
 35    childcare--such as baby-sitting, day care, nursery and preschool. DO NOT INCLUDE OTHER
       EDUCATIONAL PAYMENTS.
       Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend
 36    on health care that is required for the health and welfare of yourself or your dependents, that is not
       reimbursed by insurance or paid by a health savings account, and that is in excess of the amount entered
       in Line 24B. DO NOT INCLUDE PAYMENTS FOR HEALTH INSURANCE OR HEALTH SAVINGS
       ACCOUNTS LISTED IN LINE 39.
       Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that
       you actually pay for telecommunication services other than your basic home telephone and cell phone
 37    service--such as pagers, call waiting, caller id, special long distance, or internet service--to the extent
       necessary for your health and welfare or that of your dependents. DO NOT INCLUDE ANY AMOUNT
       PREVIOUSLY DEDUCTED.

 38    Total Expenses Allowed under IRS Standards. Enter the total of Lines 24 through 37.
                                      Subpart B: Additional Living Expense Deductions
                            Note: Do not include any expenses that you have listed in Lines 24-37
       Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly
       expenses in the categories set out in lines a-c below that are reasonably necessary for yourself, your
       spouse, or your dependents.

         a.   Health Insurance
 39
         b.   Disability Insurance
         c.   Health Savings Account

       Total and enter on Line 39

       IF YOU DO NOT ACTUALLY EXPEND THIS TOTAL AMOUNT, state your actual total average monthly
       expenditures in the space below:


       Continued contributions to the care of household or family members. Enter the total average actual
       monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
 40    elderly, chronically ill, or disabled member of your household or member of your immediate family who is
       unable to pay for such expenses. DO NOT INCLUDE PAYMENTS LISTED IN LINE 34.

       Protection against family violence. Enter the total average reasonably necessary monthly expenses that
 41    you actually incur to maintain the safety of your family under the Family Violence Prevention and Services
       Act or other applicable federal law. The nature of these expenses is required to be kept confidential by the
       court.

       Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS
       Local Standards for Housing and Utilities, that you actually expend for home energy costs. YOU MUST
 42
       PROVIDE YOUR CASE TRUSTEE WITH DOCUMENTATION OF YOUR ACTUAL EXPENSES, AND YOU
       MUST DEMONSTRATE THAT THE ADDITIONAL AMOUNT CLAIMED IS REASONABLE AND NECESSARY.

       Education expenses for dependent children under 18. Enter the total average monthly expenses that you
       actually incur, not to exceed $137.50 per child, for attendance at a private or public elementary or
 43    secondary school by your dependent children less than 18 years of age. YOU MUST PROVIDE YOUR
       CASE TRUSTEE WITH DOCUMENTATION OF YOUR ACTUAL EXPENSES, AND YOU MUST EXPLAIN
       WHY THE AMOUNT CLAIMED IS REASONABLE AND NECESSARY AND NOT ALREADY ACCOUNTED
       FOR IN THE IRS STANDARDS.




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       Additional food and clothing expense. Enter the total average monthly amount by which your food and
       clothing expenses exceed the combined allowances for food and clothing (apparel and services) in the
 44    IRS National Standards, not to exceed 5% of those combined allowances. (This information is available
       at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) YOU MUST DEMONSTRATE THAT THE
       ADDITIONAL AMOUNT CLAIMED IS REASONABLE AND NECESSARY.

       Charitable contributions. Enter the amount reasonably necessary for you to expend each month on
 45
       charitble contributions in the form of cash or financial instruments to a charitable organization as defined
       in 26 U.S.C. § 170(c)(1)-(2). DO NOT INCLUDE ANY AMOUNT IN EXCESS OF 15% OF YOUR GROSS
       MONTHLY INCOME.

 46    Total Additional Expense Deductions under § 707(b). Enter the total of Lines 39 through 45.

                                              Subpart C: Deductions for Debt Payment
       Future payments on secured claims. For each of your debts that is secured by an interest in property that
       you own, list the name of the creditor, identify the property securing the debt, state the Average Monthly
       Payment, and check whether the payment includes taxes or insurance. The Average Monthly Payment is
       the total of all amounts scheduled as contractually due to each Secured Creditor in the 60 months
       following the filing of the bankruptcy case, divided by 60. If necessary, list additional entries on a separate
 47    page. Enter the total of the Average Monthly Payments on Line 47.

                     Name of Creditor              Property Securing the Debt           Average         Does payment
                                                                                        Monthly         include taxes
                                                                                        Payment         or insurance?
         a.                                                                                             ¨ yes ¨ no
         b.                                                                                             ¨ yes ¨ no
         c.                                                                                             ¨ yes ¨ no
                                                                                    Total: Add
                                                                                    Lines a, b and c

       Other payments on secured claims. If any of the debts listed in Line 47 are secured by your primary
       residence, a motor vehicle, or other property necessary for your support or the support of your dependents,
       you may include in your deduction 1/60th of any amount (the "cure amount") that you must pay the creditor
       in addition to the payments listed in Line 47, in order to maintain possession of the property. The cure
       amount would include any sums in default that must be paid in order to avoid repossession or
 48    foreclosure. List and total any such amounts in the following chart. If necessary, list additional entries on
       a separate page.

                       Name of Creditor                 Property Securing the Debt         1/60th of the Cure Amount
         a.
         b.
         c.
                                                                                          Total: Add Lines a, b and c

       Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such
 49    as priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy
       filing. DO NOT INCLUDE CURRENT OBLIGATIONS, SUCH AS THOSE SET OUT IN LINE 33.
       Chapter 13 administrative expenses. Multiply the amount in Line a by the amount in Line b, and enter the
       resulting administrative expense.
         a.   Projected average monthly chapter 13 plan payment.
         b.   Current multiplier for your district as determined under schedules
 50           issued by the Executive Office for United States Trustees. (This
                                                                                                                        %
              information is available at www.usdoj.gov/ust/ or from the clerk of
              the bankruptcy court.)
         c.   Average monthly administrative expense of chapter 13 case                   Total: Multiply Lines a and b

 51    Total Deductions for Debt Payment. Enter the total of Lines 47 through 50.
                                             Subpart D: Total Deductions from Income
 52    Total of all deductions from income. Enter the total of Lines 38, 46 and 51.
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                     Part V. DETERMINATION OF DISPOSABLE INCOME UNDER § 1325(b)(2)
 53    Total current monthly income. Enter the amount from Line 20.
       Support income. Enter the monthly average of any child support payments, foster care payments, or
       disability payments for a dependent child, reported in Part I, that you received in accordance with
 54
       applicable nonbankruptcy law, to the extent reasonably necessary to be expended for such child.
       Qualified retirement deductions. Enter the monthly total of (a) all amounts withheld by your employer from
 55    wages as contributions for qualified retirement plans, as specified in § 541(b)(7) and (b) all required
       repayments of loans from retirement plans, as specified in § 362(b)(19).

 56    Total of all deductions allowed under § 707(b)(2). Enter the amount from Line 52.
       Deduction for special circumstances.
       If there are special circumstances that justify additional expenses for which there is no reasonable
       alternative, describe the special circumstances and the resulting expenses in lines a-c below. If
       necessary, list additional entries on a separate page. Total the expenses and enter the total in Line 57.
       YOU MUST PROVIDE YOUR CASE TRUSTEE WITH DOCUMENTATION OF THESE EXPENSES AND YOU
       MUST PROVIDE A DETAILED EXPLANATION OF THE SPECIAL CIRCUMSTANCES THAT MAKE SUCH
 57    EXPENSES NECESSARY AND REASONABLE.

              Nature of special circumstances                                             Amount of expense
         a.

         b.

         c.
                                                                                          Total: Add Lines a, b, and c

 58    Total adjustments to determine disposable income. Add the amounts on Lines 54, 55, 56, and 57 and
       enter the result.
 59    Monthly Disposable Income Under § 1325(b)(2). Subtract Line 58 from Line 53 and enter the result.




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                                           Part VI: ADDITIONAL EXPENSE CLAIMS
       Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health
       and welfare of you and your family and that you contend should be an additional deduction from your current monthly income
       under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your average
       monthly expense for each item. Total the expenses.

                                              Expense Description                                                    Monthly Amount
 60
         a.
         b.
         c.

                                                                         Total: Add Lines a, b, and c

                                                       Part VII: VERIFICATION
       I declare under penalty of perjury that the information provided in this statement is true and correct.
       (If this is a joint case, both debtors must sign.)


               Date: 06/06/2008                             Signature:     /s/ Rowland Andrade
 61
                                                                                                  (Debtor)


               Date:                                        Signature:
                                                                                            (Joint Debtor, if any)




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